         Case 1:25-cv-00716-BAH          Document 63       Filed 04/04/25    Page 1 of 4




                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA


PERKINS COIE LLP,

                 Plaintiff,
                                                        Civil Action No. 25-716 (BAH)
         v.

U.S. DEPARTMENT OF JUSTICE, et. al.,

                 Defendants.


UNOPPOSED MOTION OF 504 LAW FIRMS FOR LEAVE TO FILE A BRIEF AMICUS
  CURIAE IN SUPPORT OF PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT
         AND FOR DECLARATORY AND PERMANENT INJUNCTION


         Pursuant to LCvR 7(o), more than 500 of this Nation’s law firms (together, “amici”) 1

respectfully move, through the undersigned counsel, for leave to file a brief as amici curiae in

support of Plaintiff. The proposed brief is attached hereto as Exhibit 1, and a proposed order is

attached as Exhibit 2. In support of this motion, amici further state:

         1.      This Court has “broad discretion” in determining whether a third party may

participate in a case as amicus curiae. Nat’l Ass’n of Home Builders v. U.S. Army Corps of

Engineers, 519 F. Supp. 2d 89, 93 (D.D.C. 2007). “[N]ormally,” courts in this District will grant

an amicus leave to file a brief “when the amicus has unique information or perspective that can

help the court beyond the help that the lawyers for the parties are able to provide.” Youming Jin

v. Ministry of State Sec., 557 F. Supp. 2d 131, 137 (D.D.C. 2008) (quoting Ryan v. CFTC, 125

F.3d 1062, 1063 (7th Cir. 1997)). Amici can provide precisely that kind of information and

perspective.



1
    The individual amici are described in Appendix A.


                                                 1
        Case 1:25-cv-00716-BAH            Document 63           Filed 04/04/25    Page 2 of 4




        Amici are some of the leading law firms in the United States. The work done by amici,

and other firms like them, is indispensable to the success of our system. Many advocate for the

interests of the Nation’s leading business and financial institutions, which depend on the stability

of the rule of law in order to thrive economically. Others advocate for the interests of small

businesses, nonprofit organizations, consumers, workers and other individuals, and likewise

depend on the impartial administration of justice to advance their clients’ objectives. Individuals

at these firms hold a wide range of political, social and economic views. But despite those

differences amici are united in their support for the integrity of the adversarial system and the

rule of law.

        2.      The Plaintiff is understandably focused primarily on the effects of the March 6,

2025 Executive Order entitled “Addressing Risks from Perkins Coie LLP” (the “Executive

Order”) on Plaintiff’s ability to continue to represent its clients and to sustain itself as a going

concern. Amici seek to provide the Court with a broader perspective on the threat that the

Executive Order—which is an unconstitutional act of undisguised retaliation for representations

that Plaintiff has undertaken in the past—poses to the integrity of our adversarial system, to the

ability of clients to obtain the zealous representation to which they are constitutionally entitled,

and to the rule of law itself.

        3.      Consistent with LCvR 7(m), on April 2, 2025, amici conferred with counsel for

Plaintiff and counsel for Defendants. Plaintiff has consented to the filing of this brief.

Defendants do not object to the filing of this brief.

        For all the foregoing reasons, the Amici Law Firms respectfully request that the Court

grant their motion for leave to file a brief as amici curiae.




                                                   2
       Case 1:25-cv-00716-BAH      Document 63      Filed 04/04/25     Page 3 of 4




April 4, 2025                             Respectfully submitted,

                                          /s/ Donald B. Verrilli, Jr.
Nathan P. Eimer                           Donald B. Verrilli, Jr. (D.C. Bar. No. 420434)
(pro hac vice forthcoming)                MUNGER, TOLLES & OLSON LLP
EIMER STAHL LLP                           601 Massachusetts Ave. NW, Suite 500E
224 South Michigan Avenue, Suite 1100     Washington, D.C. 20001-5369
Chicago, IL 60604                         Telphone: (202) 220-1100
Telephone: (312) 660-7600                 Fax: (202) 220-2300
Fax: (312) 692-1718                       Donald.Verilli@mto.com
neimer@eimerstahl.com

                                Counsel for Amici Curiae




                                           3
       Case 1:25-cv-00716-BAH           Document 63        Filed 04/04/25        Page 4 of 4




                                CERTIFICATE OF SERVICE

       I hereby certify that on April 4, 2025, I electronically filed the foregoing with the Clerk

of the Court using the CM/ECF system. Notice of this filing will be sent to all attorneys of

record by operation of the Court’s electronic filing system.


April 4, 2025                                      /s/ Donald B. Verrilli, Jr.
                                                       Donald B. Verrilli, Jr.
